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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

NRG2, LLC,

             Plaintiff,

v.                                            Case No.: 2:22-cv-00080-JLB-NPM

ISLAND ROOFING, LLC
N/K/A ISLAND ROOFING
AND RESTORATION, LLC,

           Defendant.
____________________________________/

 DEFENDANT’S UNOPPOSED MOTION FOR LEAVE TO FILE REPLY TO
 PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION
             TO DISMISS THE AMENDED COMPLAINT

        NOW COMES Defendant, ISLAND ROOFING AND RESTORATION,

 LLC (“Island”), by and through undersigned counsel, and pursuant to Local

 Rule 3.01(d), and hereby respectfully requests leave to file a reply to Plaintiff’s,

 NRG2, LLC (“Plaintiff”), Response in Opposition to Defendant’s Motion to

 Dismiss the Amended Complaint [Doc. 27]. As good grounds for this motion,

 Island states as follows:

      1.      On April 12, 2022, Island filed Defendant’s Motion to Dismiss

Amended Complaint [Doc. 24]. Therein, Island argued, in part, that dismissal of

the Amended Complaint [Doc. 23] was warranted because Plaintiff failed to




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sufficiently allege facts to support diversity jurisdiction.

       2.      On April 19, 2022, Plaintiff filed Plaintiff’s Response in Opposition

to Defendant’s Motion to Dismiss the Amended Complaint [Doc. 27]. Therein,

Plaintiff argued, in part, that Plaintiff sufficiently alleged diversity jurisdiction and

asserted that “Defendant does not challenge whether the parties are diverse[.]”

[Doc. 27, p. 6].

       3.      Island respectfully requests the opportunity to further brief the

Court on the issue of diversity jurisdiction, as well as Plaintiff’s assertion that

Island does not challenge diversity, in a reply not to exceed five (5) pages.

       4.      This motion is made in good faith and not for purposes of delaying

this proceeding.

       WHEREFORE, Island respectfully requests that the Court enter an Order

permitting Island to file a reply not to exceed five (5) pages, within fourteen (14)

days of the Order.

                     LOCAL RULE 3.01(g) CERTIFICATION

       Island hereby certifies that, by and through undersigned counsel, it has

conferred via e-mail with counsel for Plaintiff relating to the relief sought in this

Motion. Counsel for Plaintiff has advised that the relief sought is unopposed.




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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on April 19, 2022, I electronically filed the

foregoing with the Clerk of Court by using the Court’s CM/ECF system thereby

serving all registered users in this case.

                                        /s/ Donald G. Peterson, Esq.
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